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              4                         UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF ILLINOIS
              5                               EASTERN DIVISION
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              7
                  UNITED STATES OF AMERICA,                Case No. 1:09-cr-00673
              8
                     Plaintiff,                            Chicago, Illinois
              9                                            September 18, 2009
                           v.                              Detention Hearing
            10
                  RON COLLINS,
            11
                    Defendant.
            12    -------------------------------
            13
            14                       TRANSCRIPT OF DETENTION HEARING
                                 BEFORE THE HONORABLE VIRGINIA M. KENDALL
            15                         UNITED STATES DISTRICT JUDGE
            16
            17    APPEARANCES:
            18
            19    For the Government:         Office of the U.S. Attorney
                                              By: Halley B. Guren
            20                                219 S. Dearborn St., 5th Fl.
                                              Chicago, IL 60604
            21                                (312) 353-5300
            22
            23
            24
            25



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   2
   3   APPEARANCES:
   4
   5
       For the Defendant:          Law Office of Michael F. Clancy
   6                               By: Michael F. Clancy
                                   53 W. Jackson Blvd., Ste. 1401
   7                               Chicago, IL 60604
                                   (773) 427-0288
   8
   9
       Also Present:               Victor N. Alvarez
 10                                U.S. Pretrial Services
 11
 12    COURT REPORTER:             FEDERAL OFFICIAL COURT REPORTER
                                   April M. Metzler, RPR, CRR
 13                                219 South Dearborn St., Rm. 2318-A
                                   Chicago, IL 60604
 14                                (312) 408-5154
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       Proceedings recorded by mechanical stenography; transcript
 25    produced by notereading.



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10:03:42      1               (Commenced at 10:03 a.m.)
10:03:42      2               THE CLERK: 09CR673, United States versus Collins.
10:03:49      3               MS. GUREN: Good morning, your Honor. Halley Guren
10:03:52      4   on behalf of the United States.
10:03:52      5               THE COURT: Good morning, Ms. Guren.
10:03:57      6               MR. CLANCY: Your Honor, Mike Clancy, on behalf of
10:03:58      7   Ron Collins, who is in custody before your Honor.
10:03:58      8               THE COURT: Good morning, Mr. Clancy.
10:04:00      9               Good morning, Mr. Collins.
10:04:00    10                THE DEFENDANT: Good morning. How you doing?
10:04:02    11                THE COURT: Okay. So I'm here for a detention
10:04:04    12    hearing. I didn't get any filings.
10:04:05    13                Did you submit anything, Mr. Clancy?
10:04:06    14                MR. CLANCY: No, your Honor.
10:04:07    15                THE COURT: All right. So it's -- the Government had
10:04:09    16    proffered last week, but I'll let the Government go through
10:04:12    17    its litany before -- or would you like to go first and tell me
10:04:16    18    your reasons for release?
10:04:17    19                MR. CLANCY: We -- I can go first, if you wish.
10:04:19    20                THE COURT: Okay. That's fine then.
10:04:20    21                MR. CLANCY: Judge, basically, I know this is a
10:04:23    22    presumption case, and the -- as you well know, as well as the
10:04:27    23    prosecutor, there's two aspects to release. One is to
10:04:32    24    obviously protect society and the other is to assure the
10:04:37    25    defendant's appearance in court. We have come up with a bond



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10:04:39      1   package that I'll get to as far as the appearance in court.
10:04:44      2               But as to protect society, Judge, obviously, the
10:04:48      3   charges are serious. Mr. Collins does have a background.
10:04:50      4   However, as this case went -- the indictment is for a time
10:04:55      5   period between '05 and November of '08. Almost nine months
10:04:59      6   have passed since the activities that are indicted in this,
10:05:03      7   and I don't believe that in those nine months that Mr. Collins
10:05:06      8   could have been too much of a threat or immediate threat to
10:05:10      9   society or the Government wouldn't have waited nine months to
10:05:13    10    come and get him.
10:05:13    11                And, Judge, one of the things that I'm going to
10:05:16    12    proffer to you is -- that I have from going through the
10:05:19    13    discovery and investigating the case, and if the Government
10:05:24    14    disagrees with my proffer, they will obviously bring that to
10:05:27    15    your Honor.
10:05:28    16                But my understanding of the evidence is that
10:05:30    17    somewhere in the time period of November of 2008, October of
10:05:36    18    2008, there were two informants who started setting up, I'll
10:05:40    19    say, local drug dealers on the South Side, and these two
10:05:44    20    informants were making phone calls trying to get people to
10:05:49    21    sting operations.
10:05:51    22                There was allegedly -- from listening to the tapes
10:05:55    23    provided and the discovery to me, there was a phone call made
10:05:59    24    to Mr. Ron Collins. Mr. Ron Collins, for whatever reason, cut
10:06:04    25    the phone call off short and that was it.



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10:06:07      1               When Mr. Collins was arrested nine months later, the
10:06:12      2   agents had made reference to this phone call, and Mr. Collins
10:06:15      3   had made a statement, according to the discovery I have, that
10:06:20      4   Mr. Collins said, Yeah, I know you guys were upset because I
10:06:23      5   knew that phone call was set up. And I knew you guys -- I was
10:06:28      6   going to get arrested.
10:06:30      7               And, Judge, this goes to both of my arguments, to
10:06:34      8   protect the society and appearance in court. Mr. Collins, in
10:06:39      9   the nine months since he knew he was -- that they had tried to
10:06:42    10    set him up in November of 2008, in those nine months,
10:06:46    11    Mr. Collins did nothing to show your Honor that he wouldn't
10:06:50    12    appear in court. Mr. Collins, in fact, went back home in
10:06:53    13    South Holland and stayed in South Holland with his girlfriend
10:06:56    14    and his child for nine months.
10:06:58    15                And the Government, knowing where he was in those
10:07:01    16    nine months in South Holland at his home, allowed him to stay
10:07:05    17    there for nine months. And I think that goes to both
10:07:08    18    protecting society and appearing in court that Mr. Collins
10:07:12    19    knew full well, as acknowledged by the agents as well as
10:07:16    20    himself upon his arrest statement, that he knew he was going
10:07:20    21    to get arrested.
10:07:20    22                (Enter Mr. Alvarez.)
10:07:21    23                MR. CLANCY: He knew that they had had informants
10:07:27    24    that were going to cause him to be arrested. And I think that
10:07:31    25    that speaks loudly to your Honor as to his protection of



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10:07:36      1   society issue and appearance in court.
10:07:38      2               Furthermore, as to the appearance in court -- and I
10:07:41      3   know that the Government and pretrial has made issue as to
10:07:47      4   arrests, using aliases, and nonappearances in court. And,
10:07:54      5   Judge, when looking at it, his criminal record starts when
10:07:57      6   he's at the age of fifteen.
10:08:00      7               And he uses different names throughout the late '80s
10:08:06      8   and early '90s, when he is an extremely young man, fifteen,
10:08:12      9   sixteen, seventeen years old. And although I don't want to
10:08:14    10    state that that's ancient history, your Honor, I think that
10:08:17    11    the case that he caught in 2002 speaks a little bit more
10:08:22    12    clearly and loudly as to how Mr. Collins reacts when he's
10:08:26    13    faced with a serious case and his appearance in court.
10:08:30    14                If you look before the 2002 arrest, which is on
10:08:34    15    page 7 of the pretrial report, that is an arrest for a cocaine
10:08:41    16    felony for fifteen or more grams of cocaine. That case lasted
10:08:46    17    four years, your Honor. And I pulled the certified
10:08:49    18    conviction -- statement of conviction. He was actually found
10:08:53    19    not guilty on the case. But it shows each and every court
10:08:57    20    date Mr. Collins was there, other than one time.
10:09:00    21                And from my reading and from practicing in state
10:09:04    22    court for almost twelve years, I can tell you that my reading
10:09:07    23    is that that was an excused miss, because there's no warrant,
10:09:11    24    there's no bond forfeiture. It just states simply -- and I'm
10:09:13    25    going to tender this to your Honor -- that the defendant was



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10:09:16      1   not in court. It didn't say failed to appear, that there was
10:09:19      2   any kind of warrant.
10:09:20      3               And, Judge, that was an important case. At this time
10:09:23      4   he's 27 years old. Prior to that 2002 case, he had not had an
10:09:30      5   arrest since 1996, because I believe the '97 and '98 cases
10:09:36      6   under Ron C. Johnson, that is not him. Those cases are from
10:09:40      7   Burlington, Iowa, Rock Island County. And from going through
10:09:45      8   Mr. Collins' criminal history with him, he is -- he refutes
10:09:49      9   that those arrests are his.
10:09:51    10                And this is not someone who's saying, Hey, that's not
10:09:54    11    my criminal background. He's taking responsibility for his
10:09:58    12    criminal background, but he does not believe that those
10:10:01    13    arrests, under the name of Ron C. Johnson, is him.
10:10:04    14                So, Judge, if you look at it, he's got arrests from
10:10:07    15    '91, '96, and then 2002, which is really the focal point here.
10:10:13    16    What did he do in '02? Well, for four years he went to court
10:10:17    17    every month. The court dates are nine pages long, and he
10:10:22    18    appeared in court each and every time and he was found not
10:10:25    19    guilty. And that really is his only arrest, your Honor, in
10:10:31    20    his adult life. And I don't mean adult by eighteen, but I
10:10:36    21    mean recent adult life at the age of 27, since he's had
10:10:40    22    children and somewhat been established in the construction
10:10:43    23    business.
10:10:45    24                Judge, also, there's some issue as to he did travel
10:10:49    25    outside the country recently. And he had a thing where him



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10:10:54      1   and his family and his girlfriend would go to Aruba for his
10:10:59      2   birthday, and it shows -- his passport activity shows those
10:11:05      3   trips to Aruba. He also had taken a trip to Europe.
10:11:08      4               But, Judge, the important thing is is in the last
10:11:12      5   nine months, he could have been -- he could have taken a trip
10:11:16      6   and not come back. He knew he was going to be placed under
10:11:19      7   arrest. He knew that this day was coming.
10:11:21      8               You can tell from the 302s from the arrest, your
10:11:26      9   Honor, that he knew that this was going to happen, and he did
10:11:29    10    not then travel to Aruba, Puerto Vallarta, or Europe and hide
10:11:35    11    out and see if this would blow over. He stayed right where he
10:11:40    12    lives now, and he lives on -- in South Holland with his
10:11:42    13    girlfriend and his child.
10:11:43    14                Judge, as far as a package that we've put together
10:11:46    15    for bond in this case that I think that would make your Honor
10:11:50    16    comfortable that he would -- not only that society would be
10:11:54    17    protected, but that he would appear in court, is, first of
10:11:59    18    all, I have his passport that the family has given to me today
10:12:02    19    and I'm going to give to pretrial today.
10:12:04    20                The second thing is, Judge, his father, Leroy
10:12:07    21    Johnson, and Leroy's wife Barbara are in court today. Leroy
10:12:12    22    and Barbara, Judge, are impeccable citizens. Barbara's been
10:12:17    23    working at AT and T for ten years. Her -- Brenda -- I'm
10:12:21    24    sorry, it's Brenda, not Barbara.
10:12:23    25                Brenda is not the mother of the defendant. Brenda



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10:12:27      1   and Ron's father, Leroy, have been married for sixteen years.
10:12:32      2   Leroy has been working at the same company since 1973 as an
10:12:35      3   operator/technician at Air Corps Metal Steel (phonetic). That
10:12:41      4   company's been around for decades, your Honor. He's been
10:12:43      5   there since '73.
10:12:45      6               Mr. Johnson has two properties, which is the entirety
10:12:49      7   of his retirement portfolio, a property at
10:12:55      8                    and another property at                                  .
10:13:00      9   Both those properties with -- and even in today's market, your
10:13:05    10    Honor, their combined equity is 51,000, and I've submitted all
10:13:09    11    the needed paperwork to the Government to that respect.
10:13:12    12                Judge, they also have a minimal amount of savings,
10:13:17    13    somewhere around $10,000 in a bank account that Leroy would be
10:13:20    14    willing to go to Citibank right now and withdraw, if needed.
10:13:24    15                And my proposal is that if let out on bond, Ron would
10:13:28    16    live with his father and his stepmother at
10:13:32    17    in Cal City, Illinois, under whatever conditions your Honor
10:13:36    18    would impose.
10:13:37    19                But, Judge, that is a package that is of no --
10:13:41    20    although 51,000 isn't the biggest bond we've heard of in these
10:13:45    21    courtrooms, to this family, to a steelworker and someone who
10:13:48    22    works at AT and T, that's all they have.
10:13:51    23                And for Brenda Johnson, who's not even the mother of
10:13:56    24    this defendant, to trust this defendant to appear in court and
10:14:01    25    follow the rules of bond and for Leroy Johnson to trust this



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10:14:05      1    defendant to follow the rules of bond and show up in court I
10:14:09      2    think also speaks loudly to your Honor.
10:14:11      3               Judge, the last thing I'd like to say -- and probably
10:14:15      4    I wouldn't say it's the strongest of my arguments, but
10:14:19      5    something that I do think the Court should be well aware of --
10:14:22      6    is these informants who tried to ensnare Mr. Collins, here,
10:14:26      7    back in November of '08 and is pretty much a big part of the
10:14:30      8    Government's case against Mr. Collins, in the -- since
10:14:35      9    November of '08 'til present, there's been three other
10:14:38     10    gentlemen in different courtrooms in this district who have
10:14:42     11    been arrested pursuant to this investigation, that I know of.
10:14:46     12               And all three of those gentlemen have been let out on
10:14:50     13    bond. And the numbers, as far as drug amounts and frequency
10:14:55     14    of dealings, are exactly on par with Mr. Collins. They would,
10:15:02     15    in my opinion, be on the same level as Mr. Collins. And, you
10:15:08     16    know, Kiley Murray was given a $250,000 secured bond by
10:15:15     17    property. Justin Turner and Larone Price, who were actually
10:15:19     18    arrested in a sting operation of a purchase of 20 kilos, they
10:15:26     19    were arrested, I would say, red-handed so to speak. They were
10:15:30     20    both let out on bond. Justin Turner was let out on $100,000
10:15:35     21    secured bond and Larone Price was let out on a $10,000 secured
10:15:39     22    bond.
10:15:39     23               And I know, Judge, every judge is different and those
10:15:42     24    are in different courtrooms and we don't have a full idea of
10:15:45     25    what their situation was, but just --



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10:15:46      1               THE COURT: I mean, that's the most important --
10:15:48      2               MR. CLANCY: I understand.
10:15:48      3               THE COURT: Whenever I hear a defense counsel say to
10:15:51      4    me, Well, this is just like another case -- of course, we
10:15:54      5    judges only look at all the facts and law in front of us and
10:15:58      6    we don't compare other cases like that. We look to see
10:16:01      7    whether a statute applies to this case.
10:16:04      8               MR. CLANCY: And that's why I preface it as not being
10:16:07      9    my main or my strongest argument.
10:16:10     10               I think my strongest argument, your Honor, is how he
10:16:14     11    dealt with the 2002 case, what he's -- that he didn't run when
10:16:17     12    he knew he was getting arrested in November of '08, and the
10:16:21     13    trust and the property that is being forwarded to your Honor
10:16:27     14    by his dad and his stepmother.
10:16:31     15               THE COURT: Okay. Do you have any substantiation for
10:16:35     16    his construction job?
10:16:36     17               MR. CLANCY: Judge, I have not received that yet.
10:16:39     18    I'm trying to get my hands on his W-2s.
10:16:43     19               THE COURT: Okay.
10:16:43     20               MR. CLANCY: I know there is some tax issues that the
10:16:46     21    Government is going to be getting. I believe his tax returns
10:16:49     22    are requesting -- trying to get the tax returns, and I'm in
10:16:53     23    the midst of trying to get that myself. I do know that he
10:16:55     24    filed taxes and has some W2s. I have not been able to get my
10:16:57     25    hands on those as of yet.



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10:16:57      1               THE COURT: Okay. And is it your position, as the
10:16:59      2    Pretrial Services Officer stated, that he's been unemployed
10:17:03      3    since June?
10:17:05      4               MR. CLANCY: Yes, Judge. And that is because of
10:17:06      5    there just hasn't been any work that has come to his company.
10:17:09      6               THE COURT: Okay. And the $3.2 million forfeiture
10:17:17      7    allegation, what is that based on, Ms. Guren?
10:17:19      8               MS. GUREN: Your Honor, that is based on the amount
10:17:21      9    of cocaine and heroin that was sold to Mr. Collins as a
10:17:27     10    wholesale dealer and which he then supplied to other people.
10:17:33     11               I can proffer more information regarding the
10:17:36     12    discovery. There's a couple of things I'd like to correct in
10:17:40     13    what Mr. Clancy has said.
10:17:42     14               THE COURT: Okay.
10:17:42     15               MS. GUREN: The first thing is the -- just to start
10:17:46     16    with the last thing he mentioned, the tax returns have
10:17:49     17    actually been provided to him and it shows a certified lack of
10:17:53     18    record for the filing of any tax returns through 2007.
10:17:58     19               There is, in fact, also information that he has
10:18:04     20    applied for a mortgage using a 2007 tax return. The IRS has
10:18:11     21    no record of having any filings by him, that has actually been
10:18:15     22    provided to him today, so I don't know if he's had a chance to
10:18:17     23    look over it.
10:18:18     24               The second thing I want to correct is the use of the
10:18:23     25    word ensnare for these two informants. As Mr. Clancy knows



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10:18:26      1    from looking at the discovery, this -- these were the main
10:18:29      2    suppliers to Mr. Collins through this time period. He was
10:18:32      3    being supplied with an average of about 50 kilos a month of
10:18:36      4    cocaine.
10:18:37      5               So to say ensnare, the first conversation in which
10:18:41      6    the informant had with Mr. Collins was regarding the purchase
10:18:46      7    of cocaine. It was only in later conversations that
10:18:49      8    Mr. Collins began to express nervousness and talk about
10:18:52      9    another person who had been recently arrested.
10:18:54     10               The third thing I wanted to bring up is the fact that
10:18:57     11    there's actually another part of this case, which is a
10:18:59     12    Title III investigation through the Central District of
10:19:02     13    Illinois, in which Mr. Collins was providing to customers down
10:19:07     14    there large amounts of cocaine and also it has been recorded
10:19:09     15    on Title IIIs in that information.
10:19:13     16               So there is two sides. It is not just the people who
10:19:17     17    have been supplying him with things, but there's also these
10:19:19     18    Title IIIs in the Central District, which corroborates the
10:19:22     19    large amount of cocaine that he has been supplying each month.
10:19:25     20               The next thing I want to point out about Pretrial
10:19:29     21    Services' report and what Mr. Collins said to him, is if you
10:19:33     22    look in the forfeiture count, there is actually another
10:19:37     23    property,                        , that our investigation believes is
10:19:40     24    in the name of Ron Collins, and that has not been mentioned to
10:19:43     25    pretrial as a property by Mr. Collins.



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10:19:46      1               The other correction I would like to make or point I
10:19:50      2    would like to make regarding these nine months that he has
10:19:53      3    supposedly, you know, not been a flight risk or danger to the
10:19:57      4    community, he has tested positive for cocaine by Pretrial
10:20:02      5    Services. So he was, in fact, using cocaine during this
10:20:04      6    period, obviously, therefore, having access to cocaine to use.
10:20:07      7    So he has been a danger to the community during this time
10:20:11      8    period.
10:20:11      9               In addition, I'm under the understanding that in
10:20:13     10    terms of this investigation, Mr. Collins was not -- did not
10:20:18     11    have a set residence that we knew he would be found at. He
10:20:23     12    has put down Throop as his main address, that is also the
10:20:27     13    address on a lot of his credit card returns and financial
10:20:30     14    information.
10:20:30     15               However, as noted by Mr. Collins himself, he's not
10:20:33     16    there -- or I'm sorry -- he says that he's there twice a week,
10:20:37     17    but his mother actually says that -- who lives there has said
10:20:39     18    that he has not stayed there for fifteen years. So that is
10:20:44     19    troubling as well.
10:20:45     20               I'm not sure if I -- I want to go back to the
10:20:47     21    forfeiture amount, if I have sufficiently answered it in terms
10:20:50     22    of the amount of cocaine.
10:20:51     23               THE COURT: That's fine.
10:20:52     24               MS. GUREN: Okay. The other points to make is the
10:20:55     25    fact that he has had multiple aliases. He has failed to



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10:20:59      1    appear. One of his aliases -- I don't know about this Ron C.
10:21:04      2    Johnson thing. I'm taking pretrial's word on that. I don't
10:21:07      3    know what the basis is for how they find things.
10:21:09      4               I think that they usually use Social Security numbers
10:21:11      5    and other identifiers and have a way of which confirming that,
10:21:15      6    so I'm not sure if the Ron C. Johnson thing is a mistake or
10:21:18      7    not. But he certainly has used an alias at the age of 22 as
10:21:23      8    well, and that's past the age of fifteen and seventeen.
10:21:25      9               I think the fact that he does have these conflicting
10:21:28     10    residency information and the fact that there has been this
10:21:30     11    failure to disclose this other property is equally troubling
10:21:34     12    along with the fact that this is a presumption case and there
10:21:38     13    is a large amount of drugs at issue, which apply for both the
10:21:42     14    risk of nonappearance and for the danger to the community.
10:21:44     15               I'm also troubled, when I read the pretrial report,
10:21:48     16    by the fact that the mother, who was originally proposed as a
10:21:51     17    third-party custodian, seems to know so little about her son.
10:21:54     18    There's conflicting information about residency. There's
10:21:56     19    actually conflicting information about how many grandchildren
10:21:59     20    she has. She seems to believe she has four. Mr. Collins said
10:22:02     21    that he has five children.
10:22:04     22               As far as the father as the third-party custodian, if
10:22:08     23    that is something that is raised, we would -- we haven't had a
10:22:11     24    criminal history check run on him or who else would be in the
10:22:14     25    residence. And I don't know any information about his time



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10:22:18      1    frame in terms of how many hours a week he works and whether
10:22:21      2    or not he's sufficiently around to supervise Mr. Collins. So
10:22:26      3    that would -- obviously if that is the path that the Court
10:22:28      4    chooses to go down, we would be interested in making sure that
10:22:32      5    that was settled.
10:22:35      6               So ultimately, I think, based on many of the issues
10:22:38      7    raised by the pretrial -- I don't even think you need to
10:22:41      8    consider the crime. Even just looking at the pretrial issues
10:22:44      9    raised, that's enough for detention, but then coupled on to
10:22:48     10    that, the large amount of cocaine that was being dealt in this
10:22:50     11    context, I think, warrants detention.
10:22:52     12               THE COURT: Now, the potential sentence, if the
10:22:59     13    Government's case were to be proved, would be what?
10:23:02     14               MS. GUREN: It would be a mandatory minimum of ten
10:23:04     15    years and a sentence [sic] of life.
10:23:07     16               THE COURT: The range.
10:23:07     17               MS. GUREN: The maximum, life.
10:23:09     18               THE COURT: Yes. Okay.
10:23:10     19               MR. CLANCY: Judge, could I just respond --
10:23:12     20               THE COURT: Please.
10:23:13     21               MR. CLANCY: -- very, very quickly.
10:23:15     22               THE COURT: Absolutely.
10:23:15     23               MR. CLANCY: Judge, as to the mother, you know, his
10:23:19     24    mother showed up in court not upon my request. I did not
10:23:25     25    forward her as a third-party custodian. I had asked for a



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10:23:28      1    continuance so I could talk to the whole family, figure out
10:23:33      2    what was the best option and who were the most responsible
10:23:36      3    people involved in Ron's life, and that's who I have with me
10:23:39      4    here in court today.
10:23:40      5               I cannot control what Ron's mother told pretrial.
10:23:46      6    And I would hate for Ron to be -- his bond chances to be
10:23:50      7    hampered by that.
10:23:51      8               The bottom line is is that Ron has had different
10:23:54      9    addresses throughout his young life and he's always used the
10:23:59     10    Throop address as a mailing address.
10:24:00     11               For the last year or so -- or year before his arrest,
10:24:04     12    he owned a house in South Holland, and that's where he was in
10:24:10     13    November and December of '08 when he learned about the
10:24:15     14    investigation. And that's where he remained and that's where
10:24:18     15    he was arrested was at the address in South Holland, and
10:24:22     16    that's where he has primarily lived for the last year with his
10:24:27     17    girlfriend and child.
10:24:28     18               As far as investigation as to Mr. Leroy Johnson and
10:24:32     19    his wife Brenda, I have -- it will be a week today, I
10:24:40     20    believe -- maybe it was Monday -- but either Friday of last
10:24:43     21    week or Monday of this week, I contacted pretrial. I gave
10:24:47     22    them Leroy Johnson's name, address, telephone number, and this
10:24:51     23    was the person.
10:24:52     24               And I've called Justin Wiersema, who's the person on
10:24:54     25    this case. I called him this morning. I called him



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10:24:58      1    yesterday. I called him the day before. He told me he was
10:25:00      2    going to interview Mr. Leroy Johnson.
10:25:03      3               I had Mr. -- I had Leroy here in my offices at 8:30
10:25:07      4    this morning, had him in the -- or in front of the courtroom a
10:25:11      5    half-hour before. And I've tried, as much as I can, to let
10:25:14      6    the Government and pretrial do their investigation of those
10:25:18      7    people that I'm relying on as much as I could.
10:25:22      8               So, Judge, based on that and my prior arguments, I'm
10:25:26      9    asking that he be given pretrial release.
10:25:28     10               THE COURT: Okay. Weighing the factors under 3142,
10:25:32     11    we do start with the fact that he has a presumption that he
10:25:37     12    should be detained, under the statute, based upon the amount
10:25:40     13    of drugs that have been alleged in the indictment and
10:25:44     14    proffered by the Government, so he is facing a mandatory
10:25:47     15    minimum of ten years in prison and a potential maximum of life
10:25:51     16    in prison, depending on the amount of drugs that could
10:25:54     17    eventually be proved up.
10:25:56     18               So that presumption then must be overcome by some
10:26:00     19    evidence that he is not a danger to the community or a flight
10:26:04     20    risk, and the evidence that we have to date is significantly
10:26:09     21    conflicting.
10:26:10     22               The first thing that we have is -- I know you're
10:26:13     23    concerned about his mother's statements impacting his place of
10:26:17     24    residence, but it is the defendant himself who placed his
10:26:21     25    mother into that position by informing Mr. Alvarez that he



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10:26:25      1    stayed with his mother and grandmother about two nights per
10:26:29      2    week. She, of course, says that isn't true, that he hasn't
10:26:32      3    stayed at the house for fifteen years.
10:26:34      4               He states also that he has been employed but there's
10:26:37      5    no record of that employment, no tax returns, record of that
10:26:41      6    employment, and he said he's been employed in this Double R
10:26:46      7    Construction (phonetic) firm. There's no evidence that's been
10:26:48      8    presented to show that that's, in truth, the case. In fact,
10:26:53      9    his mother, when asked where he works, said he works at a
10:26:57     10    grocery store, that she wasn't even aware of where that was.
10:27:01     11    So there's conflict there as well.
10:27:02     12               He says he has regular contact with his siblings.
10:27:05     13    She says that he doesn't have contact with his siblings, that,
10:27:10     14    in fact, she sees him one time per week, but not that he's
10:27:14     15    staying there. So all of that is problematic as far as his
10:27:19     16    stability in the community and where he is currently staying.
10:27:24     17               That stability is exacerbated by the fact that he's
10:27:27     18    using cocaine. He tested positive for cocaine upon his
10:27:31     19    arrest, so he's getting illegal drugs somehow. He's entering
10:27:35     20    into the illegal drug trade somehow, even as a user at a bear
10:27:40     21    minimum. The allegations are, of course, that he is more of a
10:27:43     22    distributor at a significantly high rate.
10:27:46     23               The next thing that we look at to determine whether
10:27:49     24    he'll appear here in court is his history before judges in the
10:27:52     25    past. And unfortunately your history goes with you wherever



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10:27:57      1    you go, and your history from starting out as a young man
10:28:01      2    shows that warrants needed to be issued on a regular basis
10:28:04      3    when you were young in order to get you to come to court.
10:28:09      4    Warrants were issued, bond forfeitures were entered, and there
10:28:13      5    was even a violation of bail bond when you were young.
10:28:19      6               All of these, though, show me that based upon that
10:28:22      7    with your six -- I'll say six criminal convictions -- I won't
10:28:27      8    even count the ones that he's contesting in Iowa and the
10:28:34      9    Burlington, Rock Island arrests -- his six convictions here
10:28:38     10    with, I think, eight times where he failed to listen to
10:28:42     11    another judge who told him to appear. So that does not show
10:28:48     12    that he has got a history of complying with court orders.
10:28:51     13               That, again, is exacerbated by the fact that he does
10:28:54     14    have other alias names and dates of birth and Social Security
10:28:58     15    numbers, which shows another intent to deceive, an intent to
10:29:03     16    hide a criminal history, and a potential for altering his own
10:29:08     17    identity in order to flee.
10:29:09     18               Facing a significant amount of time, now under arrest
10:29:13     19    under federal arrest, that might be a more distinct
10:29:18     20    possibility. Before he knew he might be arrested; now he is
10:29:22     21    actually arrested. So the idea of using alias names, dates of
10:29:25     22    birth, and Social Security numbers, not being candid about his
10:29:30     23    place of residence or about his income and his way of living
10:29:35     24    is all a concern for the Court, which I do not think overcomes
10:29:39     25    the presumption of detention in this case.



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10:29:42      1               Aside from that, the allegations are extremely
10:29:46      2    serious, and the Government has proffered that there's
10:29:50      3    recorded calls about a significant amount of cocaine coming
10:29:54      4    from the Central District as well as the Chicago area cocaine,
10:29:58      5    and that the amount of forfeitable property is significant.
10:30:01      6               And the fact that he has not identified one of the
10:30:06      7    alleged properties that the Government has presented to the
10:30:07      8    grand jury as being his -- which they, of course, had to have
10:30:11      9    probable cause to allege that it was his -- the fact that he's
10:30:14     10    not willing to even admit that that's his, as far as a bond,
10:30:17     11    is another concern that there is other assets out there that
10:30:21     12    he could tap into either to flee or to continue his drug use
10:30:25     13    and his potential alleged illegal conduct of drug trafficking.
10:30:29     14               So I have not found that you've overcome the
10:30:32     15    presumption of detention, and I'm ordering that he remain
10:30:35     16    detained until he has trial.
10:30:37     17               So right now do we have a schedule for all of you for
10:30:41     18    the next time I see you?
10:30:43     19               MS. GUREN: Your Honor, I believe we have a status on
10:30:44     20    October 14th.
10:30:45     21               THE COURT: Okay. And have you agreed to the
10:30:47     22    exclusion of time? Yes, you did, until the 14th. All right.
10:30:50     23               MR. CLANCY: All right, Judge.
10:30:51     24               THE COURT: All right. So is there anything else
10:30:52     25    that needs to be raised by anyone else?



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10:30:54      1               MS. GUREN: Your Honor, at this point the Government
10:30:56      2    would seek early return of trial subpoenas.
10:30:58      3               THE COURT: I assume you'd like that as well?
10:30:59      4               MR. CLANCY: Yes, your Honor.
10:31:00      5               THE COURT: Okay. So I'll have that for both sides.
10:31:04      6    Early return of trial subpoenas is granted.
10:31:05      7               Anything else?
10:31:06      8               MR. CLANCY: Judge, I have never tendered a CJA 24
10:31:09      9    form.
10:31:09     10               THE COURT: Oh, please do.
10:31:10     11               MR. CLANCY: I will tender this at this point.
10:31:14     12               Judge, I also have not submitted a financial
10:31:18     13    affidavit, and I am asking at this time that your Honor
10:31:24     14    acknowledge the fact that he is unemployed, in custody, and
10:31:29     15    that a financial affidavit has been hard for me to get
10:31:35     16    together for a number of reasons, one of which there are some
10:31:40     17    issues as to what can be submitted and to not incriminate
10:31:46     18    himself, to be blunt about it. I mean, I can tell your Honor
10:31:49     19    that --
10:31:50     20               THE COURT: You're seeking appointment based upon
10:31:53     21    indigence?
10:31:53     22               MR. CLANCY: Yes.
10:31:53     23               THE COURT: Okay. Well, I need a financial affidavit
10:31:55     24    for that. I'll give you more time to put that together --
10:31:58     25               MR. CLANCY: Thank you.



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10:31:58      1               THE COURT: -- but I'll need a financial affidavit.
10:32:00      2    I can't make that finding until I -- I would like him
10:32:04      3    represented, of course, during this period of time while that
10:32:07      4    is being set forth.
10:32:08      5               MR. CLANCY: Right.
10:32:09      6               THE COURT: But that will need to be shared with the
10:32:11      7    Government as well, because they may challenge it, based upon
10:32:14      8    the fact that the --
10:32:15      9               MR. CLANCY: Because there's so many angles that --
10:32:19     10    I've gotten some financial information, but I want to make
10:32:23     11    sure it's accurate before it's filed.
10:32:24     12               THE COURT: That's fair enough. But understand that
10:32:28     13    if you do seek appointment by the Court and the Government's
10:32:30     14    alleging he has assets, they can challenge those assets --
10:32:34     15               MR. CLANCY: Correct.
10:32:35     16               THE COURT: -- so it will need to be given to the
10:32:38     17    Government as well.
10:32:38     18               MR. CLANCY: Very well.
10:32:39     19               THE COURT: All right. I'll see you on the 14th.
10:32:40     20    Good luck to you.
10:32:41     21               MS. GUREN: Thank you.
             22               (Concluded at 10:32 a.m.)
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   4                              C E R T I F I C A T E
   5
   6      I certify that the foregoing is a correct transcript from
   7    the record of proceedings in the above-entitled matter.
   8
   9    /s/April M. Metzler, RPR, CRR, FCRR            September 18, 2009
  10    April M. Metzler, RPR, CRR, FCRR               Date
  11    Official Federal Court Reporter
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